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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION


FELICIA SANDERS, individually and as             ) Civil Action No. 2:16-cv-2356-MBS
Legal Guardian of K.M., a minor,                 )
                                                 )
                       Plaintiff,                )
                                                 ) ORDER APPROVING SETTLEMENT
v.                                               )
                                                 )
THE UNITED STATES OF AMERICA,                    )
                                                 )
                       Defendant.                )
                                                 )


         THIS MATTER COMES BEFORE THE COURT by way of Petition of the Plaintiff,

seeking an Order, pursuant to the Federal Tort Claims Act, for approval of the settlement of a

minor.

         The Court has reviewed the Petition to Approve Settlement for the minor, and the

Stipulation for Compromise Settlement and Release of Federal Tort Claims Act Claims Pursuant

to 28 U.S.C. § 2677, attached as Exhibit A to the Petition, and finds that the proposed settlement

in the amount of $5,000,000.00 is fair and reasonable, and in the best interest of the minor.

         NOW, THEREFORE, IT IS

         ORDERED that the proposed settlement by Felicia Sanders, individually and as legal

guardian of K.M., a minor with Defendant in the total amount of $5,000,000.00 payable to Felicia

Sanders, individually and as legal guardian of K.M., a minor memorialized in the Stipulation for

Compromise Settlement and Release of Federal Tort Claims Act Claims Pursuant to 28 U.S.C. §

2677 is hereby approved; and




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       IT IS FURTHER ORDERED that Felicia Sanders is hereby authorized and directed to

consummate the said settlement for and on behalf of the minor, and to execute a full, final and

complete release and discharge of Defendant, in consideration of the payment of the sum set forth

above; and

       IT IS FURTHER ORDERED that payment of the settlement funds by Defendant shall

relieve and discharge Defendant from further liability and all obligations or legal duties to see to

the appropriate or proper distribution of the settlement proceeds; and

       IT IS FURTHER ORDERED that, upon payment as aforesaid to the Plaintiff, the

obligations of Defendant are fully and completely released and finally and forever discharged from

any further responsibility in connection with the injuries to K.M., a minor;

       IT IS FURTHER ORDERED that attorney fees, costs, and other disbursements as set forth

on Exhibit B attached to the Petition are approved and that the Plaintiff be and is hereby authorized

and directed to make disbursements in accordance with Exhibit B attached to the Petition and

incorporated herein by reference; and

       IT IS SO ORDERED, ADJUDGED AND DECREED this 16th day of November, 2021, at

Charleston, South Carolina.




                                              /s/ Margaret B. Seymour
                                              Senior United States District Judge




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